   Case 2:16-cv-03544-SJF-AYS Document 44 Filed 08/29/19 Page 1 of 2 PageID #: 168




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                                                                       August 29, 2019
Via ECF

Honorable Sandra Feuerstein
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

         Re:       Weitzman v. Long Beach City School District, et al.
                   Civil Action No.: 16-cv-3544

Dear Judge Feuerstein:

       We represent Plaintiff in the above matter. As the Court is aware, this matter was closed on
December 13, 2017, pending the issuance of a decision in a New York State Education Law§ 3020-a
proceeding. The deadline for re-opening the case was extended three times while we waited for a 3020-a
decision to be issued. Another deadline to reopen, August 30, 2019, is now approaching.

        The Opinion and Award in the New York State Education Law§ 3020-a proceeding was rendered
on March 31, 2019. Of the eight charges preferred against Plaintiff, five were dismissed. Petitioner
appealed that portion of the Opinion sustaining the three remaining charges by petition on April10, 2019,
which was amended on June 7, 2019. Defendant The Long Beach City School District ("the District")
moved to dismiss the amended petition. The motion is returnable on August 28, 2019. While the appeal
is adjudicated in the state court, I am respectfully requesting an extension of the deadline to reopen this
matter for at least six months to February 20,2020. Defendants take no position on the request but submit
that, if an adjournment is granted, it also apply to the related cases for which discovery has been
consolidated with this instant matter. Plaintiff submits that she objected to consolidation of discovery at
the time it was implemented, however, no discovery was conducted anyway as the matters were all stayed.
Upon information and belief, the other matters were previously re-opened and discovery has commenced
in those matters, however depositions of the consolidated witnesses and defendants have not yet taken
place.
  Case 2:16-cv-03544-SJF-AYS Document 44 Filed 08/29/19 Page 2 of 2 PageID #: 169
Honorable Sandra Feuerstein
United States District Court
Eastern District ofNew York
August 29, 2019
Page2


      Thank you for your courtesies.

                                         Respectfully submitted,

                                         Is/Debra L. Wabnik

                                         Debra L. Wabnik (dw-0944)

DLW/sh

cc:   Gerald S. Smith, Esq.
      Lewis Silverman, Esq.
      Silverman & Associates
      Via ECF
